             Case 1:24-cv-40154-WGY             Document 16-2          Filed 02/04/25       Page 1 of 10

                       The Commonwealth of Massachusetts
                            Committee for Public Counsel Services
                                 Immigration Impact Unit
                         21 McGrath Highway, Somerville, MA 02143
                                               TEL: 617-623-0591
                                               FAX: 617-623-0936
ANTHONY J. BENEDETTI                                                                             WENDY S. WAYNE
  CHIEF COUNSEL                                                                                    DIRECTOR

                       HABEING DEFENDANTS FROM IMMIGRATION CUSTODY
                             TO MASSACHUSETTS CRIMINAL COURTS
                                        January 2019

Below please find the most updated procedure for habeing clients held in ICE custody back into state court. This
procedure is the result of discussions between the Trial Court, the Sheriffs’ Departments and ICE. We are hopeful
that this new coordination will result in greater success for our clients.

Background
ICE detainees are held in the following places in Massachusetts: Suffolk County House of Corrections, Plymouth
County Correctional Facility, Bristol County House of Corrections and Franklin County House of Corrections. The
Sheriff with physical custody of the defendant is responsible for transporting that person to state court. However,
before being transported to state court, ICE must give the Sheriff permission to release the person for transport.

Procedure
In order to effectuate permission from ICE and transport by the Sheriff:

      Request a Habe for the Sheriff Holding Your Client in ICE Custody: Tell the court that your client is in ICE
       custody, identify which facility is holding your client, and request that a habe issue to that Sheriff. It is the
       defense attorney’s responsibility to inform the court where the defendant is being held.
           o The Clerk should issue a habe to the sheriff with physical custody of the defendant. There is a
               specific habe for those in ICE custody which includes specific language relating to ICE. The habe is
               available in the MassCourts system.
      Request That the Court Send a Photocopy of This Habe to ICE.
           o The Clerk must fax a photocopy of this habe to ICE’s Massachusetts Field Office in Burlington at
               781-359-7589.
      Request That the Habes Be Sent in Advance: Because ICE and the Sheriff must coordinate in order for
       transport to occur, defense counsel should request that the clerk issue the habe a few days prior to the court
       date (as opposed to the day before).

Attached to this advisory please find the two Trial Court memos that outline this transportation procedure.

      On November 30, 2018, the Trial Court issued a memo detailing how the habeas should be issued to the
       Sheriff with physical custody of the defendant. It includes instructions on the specific language that must be
       included and how to generate this habe from the MassCourts system.

      On January 15, 2019, the Trial Court issued an amendment to the November memo. The update includes a
       new sample habe and instructions to provide a copy of the habe to ICE.

Please contact the IIU (iiu@publiccounsel.net) if you have attempted to have your client brought from ICE
custody to state court and have been unsuccessful, as we are trying to keep track of this issue.
        Case 1:24-cv-40154-WGY           Document 16-2         Filed 02/04/25         Page 2 of 10




                                   THE COMMONWEALTH OF MASSACHUSETTS
                                      EXECUTIVE OFFICE OF THE TRIAL COURT
                                              John Adams Courthouse
                                         One Pemberton Square, Floor IM
                                            Boston, Massachusetts 02108
                                                    617-878-0203




Paula M. Carey                                                                  Jonathan S. Williams
Chief Justice of the Trial Court                                                Court Administrator


                                                               Executive Office Transmittal 18-21


To:       Judges, Clerks, Registers, Chief Probation Officers, and Chief Court Officers

From: Chief Justice Paula M. carey        AIO

cc:      Jonathan Williams, Court Administrator, Departmental Chief Justices, Probation
         Commissioner, Jury Commissioner, Deputy Court Administrators, OCM Directors

Date:    November 30, 2018

Re:      Revised language for state writs of habeas corpus issued for individuals in ICE
         custody

         The United States Immigration and Customs Enforcement (ICE) has requested that, in
matters in which state courts issue a writ of habeas corpus for a person held in ICE custody, the
writ include language guaranteeing that, upon the conclusion of the state proceeding, the state
will return the person to ICE’s custody. After careful consideration of ICE’s request, the Trial
Court has come to the conclusion that ICE’s request is consistent with the law and does not run
afoul of the Supreme Judicial Court’s decision in Lunn v. Commonwealth, 477 Mass. 517 (2017).
The Trial Court has decided to create a new writ of habeas corpus to reflect transportation
practice and to ensure compliance with the law. Staff from the various court departments, in
conjunction with the EOTC, worked together to draft the revised language.

         A new writs of habeas corpus has been added into MassCourts for use in situations where
a person held in ICE custody is being habed into a session. When a party informs the court that a
person for whom a writ is to be issued is in ICE custody, a “Habeas Corpus for detainee in the
custody of the United States Custom Enforcement” should be issued for that person’s presence.
To access the form in MassCourts, the court user will enter docket code “HABEICE”, and
complete all fields to generate the new ICE Habeas Corpus Writ which will now contain the
following language:
     Case 1:24-cv-40154-WGY                    Document 16-2             Filed 02/04/25           Page 3 of 10



  TO THE OFFICIAL IN CHARGE OF THE INSTITUTION NAMED ABOVE:

   You are hereby ORDERED to bring the defendant - detainee named above,who js presently in your custody,
   before this court on the date and time indicated above for the event indicated.
   if the defendant -detainee is transferred from your facility prior to the appearance date, please
   transmit this writ with the defendant- detainee to the new facility If the defendant - detainee is
   released from custody prior to the appearance date, please notify the court immediately.

   FURTHER     ORDERS      OF THE     COURT:
  The defendant-detainee shall be returned to ICE immediately after the conclusion of the above-
  referenced hearing or, ifthe defendant - detainee i taken into custody following the hearing,
  immediately after the defendant -detainee is released from that custody, by the state, county, or local
  entity having custody of the defendant - detainee at that time.

  The [                       ] County Sheriff shall make the necessary arrangements, including but not
  imited to providing transportation,to insure the defendant's presence in court for the above-referenced
  hearing and his or her return to ICE's custody at the conclusion of the state’s custody.


          The single MassCourts docket entry “HABEICE” and the same form may be utilized to
arrange transportation for a detainee who may be scheduled to appear before a court session as a
defendant, witness, or a probationer.         Additionally, a copy of the issued form will auto-display
on the MassCourts case record. For detailed instructions regarding the issuance of an ICE writ
of Habeas Corpus please refer to attached Business User Guide: MassCourts Process to
issue required Writ of Habeas Corpus for Detainee in custody of United States Custom
Enforcement (ICE).

        MassCourts changes have been completed in the District Court and users will be able to
generate it starting Monday, December 3, 2018. JISD will complete the process of adding the
new docket code and form to the remaining departments, as each department is currently
verifying which party and case types should be associated with this process.
          Case 1:24-cv-40154-WGY                     Document 16-2    Filed 02/04/25           Page 4 of 10

Business User Guide:   MassCourts Process to issue                   will be display for the user to enter the
required Writ of Habeas Corpus for Detainee in                       foltowing:
custody of United States Custom Enforcement (ICE).
                                                                         e    The name of the Institution where the
       To insure that an individual held in ICE custody
                                                                              party is being detained.
       at a state facility is transported to a scheduled
                                                                         e    The party or witness name.
       court event, court users should utilize the
       HABEICE docket entry in MassCourts.                               e   Select the scheduled event for the
                                                                             detainee to appear.
       The HABEICE docket code will result in the                        e   Select the County location of the Sheriff
        issuance of a writ of Habeas Corpus that will                        who is responsible for arranging
       display specific language regarding the custody                       transportation of the JCE detainee
       status of the United States Custom                                e   Select the party type of the detainee
       Enforcement. The writ of habeas corpus will                            [defendant, witness or probationer)
       also contain language that indicates if the
       detainee is to be transported to the court event              After completion of all variable fields, click
       as a defendant, witness or probationer.                       SAVE.


       To obtain the ICE Habeas Corpus, the user                     Issuing the ICE Habeas Corpus: After saving the
       should navigate to the case record on which the               HABEICE docket entry, the court user may
       detainee is scheduled to appear. if the detainee              select dynamic link “Docket Notice Generation”
       is not the named defendant on the case and is                 or select "Continue” at the bottom of the
       scheduled to appear as a witness; the detainee                docket maintenance screen. Either action will
       must be added as a case witness.                              open notice generation screen for user to select
                                                                     “notice” to access the party selection screen for
           e   Adding Detainee as a Witness: Gn the                  user to indicate the party name that will display
               case summary screen, the court user                   on the Habeas Corpus document.
               should select “add party” in the party
               information section to open the party                 Printing and saving the completed [CE Habeas
               type selection screen. User shall select              Corpus: After selecting the party, the
               Party type Witness to open the party                  completed ICE Habeas Corpus form will display.
               maintenance screen. Search or enter all               Two copies of the form will print, one to be
               party information provided for the                    forwarded to the Institution and one for the
               detainee and click Continue to return to              court file. Court user to print the form and then
               party maintenance screen and click                    select the green “SAVE FORM" box.
               SAVE to add detainee as a witness.
                                                                     ICE Habeas Corpus Smart Form: The {CE Habeas
      Schedule the Court Event:     Before initiating the            Corpus form is produced in MassCourts as a
      process for obtaining the ICE habeas corpus, the               smart form and will be auto-imaged to the
      court user shall schedule the court event which                MassCourts case record. No additional scanning
      will require the appearance of the detainee as a               is necessary. The court user should retain a
      defendant or a witness.                                        signed or executed copy for the case file and
                                                                     transmit a signed copied to the Institution
      Docketing the HABEICE Entry: After the                         presently holding the detainee in custody.
      scheduled event has been added to the
      MassCourts case, the court user shall navigate
      to the docket entries section of the case
      summary screen and click “add docket entry”.
      In the docket entry field add docket code
      “HABEICE” and select tab. Five variable fields
                          Case 1:24-cv-40154-WGY                     Document 16-2       Filed 02/04/25             Page 5 of 10

                            HABEAS CORPUS                           DOCKET NUMBER            =                        sachu              i,
         FOR DETAINEE IN THE CUSTODY OF THE UNITED                                         Trial Court of Mas            husetts         19)
                     STATES CUSTOM ENFORCEMENT                                                                                             si
                          INSTITUTION'S COPY



    —
    bos                     GENDER              SSN
                                                      SAMPLE
                                                         PCF NUMBER
                                                                                           ——


    NAME & ADDRESS OF INSTITUTION                                                          NEXT EVENT DATE & TIME




                                                                                                          AAAAAAAAAAA

                                                                                                 DEFENDANT-DETAINEE MUST APPEAR AT
                                                                                                  ABOVE COURT ON THIS DATE AND TIME

   TO THE OFFICIAL IN CHARGE OF THE INSTITUTION NAMED ABOVE:
   You are hereby ORDERED to bring the defendant - detainee named above, who is presently in your custody, before this
   court on the date and time noted above for the event indicated.
    If the defendant - detainee is transferred from your facility prior to the appearance date, please transmit this writ with the
    defendant -detainee to the new facility. If the defendant - detainee is released from custody prior to the appearance date,
    please notify the court immediately.
   FURTHER ORDER OF THE COURT:
   The defendant - detainee shall be returned to ICE immediately after the conclusion of the above referenced hearing or if the
   defendant - detainee is taken into custody following the hearing, immediately after the defendant - detainee is released from
   that custody, by the state, county or local entity having custody of the defendant - detainee at that time.
   The                           Sheriff shall make the necessary arrangements, including but not limited to providing
   transportation, to insure the                presence in court for the above-referenced hearing and his or her retum to ICE's
   custody at the conclusion of the state’s custody.
 ADDITIONAL ORDERS OF THE COURT:




                       TESTEOF FIRST JUSTICE                 DATE ISSUED                   SIGNATURE
                                                                                              OF CLERI-MAGISTRATE / ASST. CLERK
  WITNESS:                                                                                 xX

                                                                     RETURN OF SERVICE


              | certify that:
               C1 I have produced the defendant-detainee named above in court as ordered.

               C1 | am unable to produce the defendant-detainee and | am retuming this writ to the court because:


  DATE OF RETURN              | SIGNATURE OF PERSON MAKING RETURN                                 TITLE OF PERSON MAKING RETURN

                                 x                                                                x
DetefTime Prted,   11-30-2018 1248.43                                                                                              DCRI3: 112918
                             Case 1:24-cv-40154-WGY                       Document 16-2        Filed 02/04/25             Page 6 of 10

                     HABEAS CORPUS                                    DOCKET NUMBER                      Cc                 achusetts




                                                                                                                                                  4
           FOR DETAINEE IN THE CUSTODY OF THE UNITED                                                                                             ya 5
                                                                                                Trial         Court of Massachus                 cH
                       STATES CUSTOM ENFORCEMENT
                      COURT COPY
     DEFENDANT
            - DETAINEE NAME                              S            }      [P           LE     COURT NAME & ADDRESS


     bos                      GENDER               SSN                       PCF NUMBER




     NAME
       & ADDRESS OF INSTITUTION                                                                  NEXT EVENT DATE & TIME




                                                                                                                  AAAAAAAAAAA

                                                                                                        DEFENDANT-DETAINEE MUST APPEARAT
                                                                                                         ABOVE COURT ON THIS DATE AND TIME

     TO THE OFFICIAL IN CHARGE OF THE INSTITUTION NAMED ABOVE:
    You are hereby ORDERED to bring the defendant - detainee named above, who is presently in your custody, before this
    court on the date and time noted above for the event indicated.
     If the defendant - detainee is transferred from your facility prior to the appearance date, please transmit this writ with the
     defendant -detainee to the new facility. If the defendant - detainee is released from custody prior to the appearance date,
     please notify the court immediately.
    FURTHER ORDER OF THE COURT:
    The defendant - detainee shall be returned to ICE immediately after the conclusion of the above referenced hearing or if the
    defendant - detainee is taken into custody following the hearing, immediately after the defendant - detainee is released from
    that custody, by the state, county or local entity having custody of the defendant - detainee at that time.
   The                           Sheriff shall make the necessary arrangements, including but not limited to providing
   transportation, to insure the                presence in court for the above-referenced hearing and his or her return to ICE's
   custody at the conclusion of the state's custody.
  ADDITIONAL ORDERS OF THE COURT:




                         TESTE OF FIRST JUSTICE                DATE ISSUEO                       SIGNATURE OF CLERK-MAGISTRATE / ASST. CLERK
  WITNESS:
                                                                                                 Xx
                                                                          RETURN OF SERVICE

                | certify that:
                (1 t have produced the defendant-detainee named above in court as ordered.

                0) | am unable to produce the defendant-detainee and | am returning this writ to the court because:


   DATE OF RETURN               | SIGNATURE OF PERSON MAKING RETURN                                      TITLE OF PERSON MAKING RETURN


                                    x                                                                    x
DatefTene Printed   «11-28-2018 92:48.43                                                                                                  OcRT: 102000
Case 1:24-cv-40154-WGY       Document 16-2      Filed 02/04/25   Page 7 of 10




 Amended Writ of Habeas Corpus
 for Persons in ICE Custody
 Authored by: Kevin Buckley
 Publish: 1/15/2019 10:34:00 AM
 Last update: 1/15/2019 12:54:43 PM

 Executive Office Transmittal 19-3 Regarding the Amended Writ of
 Habeas Corpus for Persons in ICE Custody

 To:    Judges, Clerk Magistrates, Registers, Chief Probation Officers, and
 Chief Court Officers

 Executive Office Transmittal 19-3

 From: Chief Justice of the Trial Court Paula M. Carey and Court
 Administrator Jonathan S. Williams

 January 15, 2019


 As a follow-up to Executive Office Transmittal 18-21, titled “Habeas Corpus
 for detainee in the custody of the United States Custom Enforcement,” a
 writ of habeas corpus has been added to MassCourts for use in situations
 where a person in the custody of the United States Immigration and
 Customs Enforcement (ICE) is being “habed” into a session. This
 Transmittal provides additional guidance regarding the procedure to be
 followed in such a situation.

   • The new writ of habeas corpus for a detainee in ICE’s custody requires
     the Court to designate a county sheriff to transport the detainee to and
     from court. At present, ICE does not have a facility in Massachusetts
     where it houses detainees in its custody; rather, ICE has entered into
     agreements with the Sheriffs of Suffolk, Plymouth, and Bristol Counties
     whereby those sheriffs house detainees in ICE’s custody.


 Accordingly, when issuing a writ of habeas corpus for a detainee in ICE’s
 custody, the Court should order the Sheriff who is housing the detainee to
 transport the detainee to and from court. The Suffolk, Plymouth, and Bristol
 County Sheriffs have acknowledged their understanding that, pursuant to
 the new writ of habeas corpus for a detainee in ICE’s custody, they will be
 ordered to transport ICE detainees in their physical custody to and from
 court.
Case 1:24-cv-40154-WGY       Document 16-2     Filed 02/04/25    Page 8 of 10




 The parties to the matter in which the ICE detainee’s presence is requested
 are responsible for informing the court where the detainee is being held.

   • The court issuing the writ of habeas corpus for a person in ICE’s
     custody should make a photocopy of the “institution’s copy” and fax the
     photocopy to ICE’s Massachusetts Field Office at the following fax
     number: (781) 359-7589. A directive that a photocopy of the writ
     should be faxed to ICE’s Massachusetts Field Office has been added
     to the writ.
                              Case 1:24-cv-40154-WGY                 Document 16-2       Filed 02/04/25      Page 9 of 10
                         HABEAS CORPUS                              DOCKET NUMBER
      FOR DETAINEE IN THE CUSTODY OF THE UNITED                                               Trial Court of Massachusetts
            STATES CUSTOM ENFORCEMENT
                                                                        1653CR999888          District Court Department
                             INSTITUTION'S COPY
DEFENDANT - DETAINEE NAME                                                                     COURT NAME & ADDRESS
   JOE TEST                                                                                   Woburn District Court
                                                                                              30 Pleasant Street
 DOB                      GENDER                SSN                     PCF NUMBER
                                                                                              Woburn, MA 01801
 01/01/1970                Male                       XXX-XX-XXXX                             (781)935-4000

 NAME & ADDRESS OF INSTITUTION                                                               NEXT EVENT DATE & TIME

                                                                                             04/15/2017 09:35 AM Bench Trial (CR)
  MCI - Cedar Junction (at Walpole)
  Route 1A
  PO Box 100
  South Walpole, MA 02071
                                                                                                           ^^^^^^^^^^^
                                                                                                  DEFENDANT-DETAINEE MUST APPEAR AT
                                                                                                   ABOVE COURT ON THIS DATE AND TIME

  TO THE OFFICIAL IN CHARGE OF THE INSTITUTION NAMED ABOVE:
  You are hereby ORDERED to facilitate the transfer of the defendant - detainee named above, who is presently in your
  custody, before this court on the date and time noted above for the event indicated.
  If the defendant - detainee is transferred from your facility prior to the appearance date, please transmit this writ with the
  defendant -detainee to the new facility. If the defendant - detainee is released from custody prior to the appearance date,
  please notify the court immediately.
 FURTHER ORDER OF THE COURT:
 The defendant - detainee shall be returned to ICE immediately after the conclusion of the above referenced hearing or if the
 defendant - detainee is taken into custody following the hearing, immediately after the defendant - detainee is released from
 that custody, by the state, county or local entity having custody of the defendant - detainee at that time.
 The Middlesex County Sheriff shall make the necessary arrangements, including but not limited to providing transportation, to
 insure the defendant's presence in court for the above-referenced hearing and his or her return to ICE's custody at the
 conclusion of the state's custody.
ADDITIONAL ORDERS OF THE COURT:
   THIS IS A TEST.




  Immediately upon issuance of this document, the Clerk shall fax a photocopy of this Habeas Corpus writ to
                ICE's Massachusetts Field Office at the following fax number: (781)-359-7589
                       TESTE OF FIRST JUSTICE                 DATE ISSUED                     SIGNATURE OF CLERK-MAGISTRATE / ASST. CLERK

 WITNESS: Hon. Marianne C Hinkle                                            12/14/2018

                                                                      RETURN OF SERVICE


              I certify that:
                      I have produced the defendant-detainee named above in court as ordered.

                      I am unable to produce the defendant-detainee and I am returning this writ to the court because:



  DATE OF RETURN                 SIGNATURE OF PERSON MAKING RETURN                                  TITLE OF PERSON MAKING RETURN




Date/Time Printed: 01-07-2019 07:38:01                                                                                              DCR23: 01/07/2019
                            Case 1:24-cv-40154-WGY                  Document 16-2        Filed 02/04/25      Page 10 of 10
                         HABEAS CORPUS                              DOCKET NUMBER
      FOR DETAINEE IN THE CUSTODY OF THE UNITED                                               Trial Court of Massachusetts
            STATES CUSTOM ENFORCEMENT
                                                                         1653CR999888          District Court Department
                                  COURT COPY
DEFENDANT - DETAINEE NAME                                                                     COURT NAME & ADDRESS

   JOE TEST                                                                                    Woburn District Court
                                                                                               30 Pleasant Street
 DOB                      GENDER                SSN                     PCF NUMBER
                                                                                               Woburn, MA01801
  01/01/1970               Male                       XXX-XX-XXXX                              (781)935-4000

 NAME & ADDRESS OF INSTITUTION                                                                NEXT EVENT DATE & TIME

                                                                                              04/15/2017 09:35 AM Bench Trial (CR)
  MCI - Cedar Junction (at Walpole)
  Route 1A
   PO Box 100
   South Walpole, MA 02071
                                                                                                            ^^^^^^^^^^^
                                                                                                   DEFENDANT-DETAINEE MUST APPEAR AT
                                                                                                    ABOVE COURT ON THIS DATE AND TIME

  TO THE OFFICIAL IN CHARGE OF THE INSTITUTION NAMED ABOVE:
  You are hereby ORDERED to facilitate the transfer of the defendant - detainee named above, who is presently in your
  custody, before this court on the date and time noted above for the event indicated.
  If the defendant - detainee is transferred from your facility prior to the appearance date, please transmit this writ with the
  defendant -detainee to the new facility. If the defendant - detainee is released from custody prior to the appearance date,
  please notify the court immediately.
 FURTHER ORDER OF THE COURT:
 The defendant - detainee shall be returned to ICE immediately after the conclusion of the above referenced hearing or if the
 defendant - detainee is taken into custody following the hearing, immediately after the defendant - detainee is released from
 that custody, by the state, county or local entity having custody of the defendant - detainee at that time.
  The Middlesex County Sheriff shall make the necessary arrangements, including but not limited to providing transportation, to
  insure the defendant's presence in court for the above-referenced hearing and his or her return to ICE's custody at the
  conclusion of the state's custody.
ADDITIONAL ORDERS OF THE COURT:
   THIS IS A TEST.




  Immediately upon issuance of this document, the Clerk shall fax a photocopy of this Habeas Corpus writ to
                ICE's Massachusetts Field Office at the following fax number: (781)-359-7589
                       TESTE OF FIRST JUSTICE                 DATE ISSUED                      SIGNATURE OF CLERK-MAGISTRATE / ASST. CLERK

  WITNESS: Hon. Marianne C Hinkle                                           12/14/2018

                                                                      RETURN OF SERVICE


              I certify that:
                      I have produced the defendant-detainee named above in court as ordered.

                      I am unable to produce the defendant-detainee and I am returning this writ to the court because:



  DATE OF RETURN                 SIGNATURE OF PERSON MAKING RETURN                                   TITLE OF PERSON MAKING RETURN




Date/Time Printed: 01-07-2019 07:38:01                                                                                               DCR23: 01/07/2019
